Case 3:09-cr-30146-DRH         Document 97       Filed 02/01/10      Page 1 of 1     Page ID #184




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                       )
                                                 )
                Plaintiff,                       )
                                                 )
 V.                                              )           Criminal No. 09-30146-04-DRH
                                                 )
 DUSTIN HOUK,                                    )
                                                 )
                Defendant.                       )

                             REPORT AND RECOMMENDATION

        The United States of America and the Defendant having both filed a written consent,

 appeared before me pursuant to Federal Rule of Criminal Procedure 11 and SDIL Rule

 72.1(b)(2). The Defendant entered a plea of guilty to Count 1 of the Superseding Indictment.

 After cautioning and examining the Defendant under oath concerning each of the subjects

 mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary, and that the

 offense charged is supported by an independent factual basis containing each of the essential

 elements of such offense. I therefore recommend that the plea of guilty be accepted, that a

 presentence investigation and report be prepared, and that the Defendant be adjudicated guilty

 and have sentence imposed accordingly.

        DATED: January 29, 2010
                                                     s/ Clifford J. Proud
                                                     CLIFFORD J. PROUD
                                                     U. S. MAGISTRATE JUDGE

                                             NOTICE

        Failure to file a written objection to this Report and Recommendation within fourteen
 (14) days from the date of its service shall bar an aggrieved party from attacking such Report and
 Recommendation before the assigned U.S. District Judge. 28 U.S.C. 636(b)(1)(B).
